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CGFI4 (10/01/16)




ORDERED in the Southern District of Florida on May 16, 2018




                                                                                                  Laurel M Isicoff
                                                                                                  Chief United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                  Case Number: 18−15891−LMI
                                                                                                                  Chapter: 7
In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Maurice Symonette
1411 NW 14 AVE
Miami, FL 33167

SSN: xxx−xx−9067


                                ORDER ALLOWING INSTALLMENT PAYMENTS
      The Application for Individuals to Pay the Filing Fee in Installments has been reviewed by the clerk in
accordance with Local Rule 1006−1(A). The debtor remitted at least one half the filing fee at the time of
filing the petition. ACCORDINGLY,

    IT IS ORDERED that the debtor shall pay the balance of the filing fee $ 167.50 on or before July 16,
2018. Payment must be in cash, money order, cashier's or "official" check payable to "Clerk, United States
Court", and delivered to: US Bankruptcy Court, 301 North Miami Avenue, Room 150, Miami, FL 33128.

    IT IS FURTHER ORDERED that until this filing fee is paid in full the debtor shall not make any
additional payment or transfer any additional property to an attorney or any other person for services in
connection with this case. Absent further order of court, until this filing fee is paid in full, the debtor in a
chapter 7 case will not receive a discharge and the debtor's plan in a chapter 13 case will be confirmed
only on the condition that the chapter 13 plan provide for this filing fee to be paid in full immediately upon
confirmation.

      IT IS FURTHER ORDERED that failure of the debtor to pay any filing fee installment by the due date
will result in entry of a dismissal order without further notice.
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The clerk shall serve a copy of this order on the Debtor, Trustee, and if applicable, Attorney for Debtor.
